                        Case 3:24-cv-01304-MMC          Document 46     Filed 05/20/24    Page 1 of 16



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                  11     CHANGE OF CONTROL SEVERANCE
                         AND INVOLUNTARY TERMINATION
                  12     PROTECTION POLICY; LINDSAY
                         CHAPMAN; BRIAN BJELDE; AND
                  13     DHRUV BATURA

                  14                                 UNITED STATES DISTRICT COURT
                  15                                NORTHERN DISTRICT OF CALIFORNIA
                  16                                    SAN FRANCISCO DIVISION

                  17    PARAG AGRAWAL, NED SEGAL, VIJAYA                 Case No. 3:24-cv-01304-MMC
                  18    GADDE, and SEAN EDGETT,
                                                                         DEFENDANTS’ NOTICE OF MOTION
                  19                  Plaintiffs,                        AND MOTION TO DISMISS COUNT V
                              vs.                                        OF THE COMPLAINT
                  20
                        ELON MUSK; X CORP., F/K/A TWITTER,               Hearing Date: July 19, 2024
                  21                                                     Time: 9:00 AM
                        INC.; TWITTER, INC. CHANGE OF
                  22    CONTROL AND INVOLUNTARY                          Location: Courtroom 7, 19th Floor
                        TERMINATION PROTECTION POLICY;                   Hon. Maxine M. Chesney
                  23    TWITTER, INC. CHANGE OF CONTROL
                        SEVERANCE AND INVOLUNTARY                        Action Filed: March 4, 2024
                  24    TERMINATION PROTECTION POLICY;
                  25    LINDSAY CHAPMAN; BRIAN BJELDE;
                        AND DHRUV BATURA,
                  26
                                      Defendants.
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                  28
MORGAN, LEWIS &
 BOCKIUS LLP                                                                      MOTION TO DISMISS COUNT V OF COMPLAINT
 ATTORNEYS AT LAW
                                                                                                 CASE NO. 3:24-cv-01304-MMC
  SAN FRANCISCO
                        Case 3:24-cv-01304-MMC          Document 46        Filed 05/20/24      Page 2 of 16



                    1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

                    2          Please take notice that on Friday, July 19, 2024 at 9:00 AM or as soon thereafter as counsel

                    3   may be heard, before the Honorable Maxine Chesney of the San Francisco Courthouse of the above-

                    4   captioned court, located at 450 Golden Gate Avenue, Courtroom 7 – 19th Floor, San Francisco, CA

                    5   94102, Defendants Elon Musk; X Corp.; Twitter, Inc. Change of Control and Involuntary

                    6   Termination Protection Policy; Twitter, Inc. Change of Control Severance and Involuntary

                    7   Termination Protection Policy; Lindsay Chapman; Brian Bjelde; and Dhruv Batura (collectively,

                    8   “Defendants”) will, and hereby do, move this Court, pursuant to Fed. R. Civ. P. 12(b)(6), for an

                    9   order dismissing Count V of the Complaint for Severance Benefits, Equitable Relief, and Statutory
                  10    Penalties (ERISA) (the “Complaint”) filed by Plaintiffs Parag Agrawal, Ned Segal, Vijaya Gadde,

                  11    and Sean Edgett (collectively, “Plaintiffs”), for failure to state a claim upon which relief can be

                  12    granted. This motion is based on the following grounds:

                  13           1.      The claims alleged in Count V of the Complaint against Defendants Musk and X

                  14    Corp. under ERISA section 510, 29 U.S.C. § 1140, fail to state a claim because the only relief

                  15    Plaintiffs seek—“equitable surcharge” and “front pay”—are not available to them on the facts

                  16    alleged as a matter of law.

                  17           2.      The claims alleged in Count V of the Complaint against Defendants Musk and X

                  18    Corp. under ERISA section 510, 29 U.S.C. § 1140, also fail because they are foreclosed by

                  19    Plaintiffs’ claims in Counts I-IV for severance benefits under ERISA section 502(a)(1)(B), 29
                  20    U.S.C. § 1132(a)(1)(B).

                  21           Defendants request that the Court dismiss Count V without leave to amend. This Motion

                  22    to Dismiss is based on this Notice of Motion, the Memorandum of Points and Authorities,

                  23    Declaration of Eric Meckley, the pleadings on file herein, and such arguments and admissible

                  24    evidence as may be presented at the time of the hearing.

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MORGAN, LEWIS &
 BOCKIUS LLP                                                           -1-             MOTION TO DISMISS COUNT V OF COMPLAINT
 ATTORNEYS AT LAW
                                                                                                      CASE NO. 3:24-cv-01304-MMC
  SAN FRANCISCO
                        Case 3:24-cv-01304-MMC   Document 46   Filed 05/20/24     Page 3 of 16



                    1
                         Dated: May 20, 2024                     MORGAN, LEWIS & BOCKIUS LLP
                    2
                    3                                            By   /s/ Eric Meckley
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                    9                                            CHANGE OF CONTROL AND
                                                                 INVOLUNTARY TERMINATION
                  10                                             PROTECTION POLICY; TWITTER, INC.
                  11                                             CHANGE OF CONTROL SEVERANCE
                                                                 AND INVOLUNTARY TERMINATION
                  12                                             PROTECTION POLICY; LINDSAY
                                                                 CHAPMAN; BRIAN BJELDE; AND
                  13                                             DHRUV BATURA
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MORGAN, LEWIS &
 BOCKIUS LLP                                                              MOTION TO DISMISS COUNT V OF COMPLAINT
 ATTORNEYS AT LAW                                          -2-                           CASE NO. 3:24-cv-01304-MMC
  SAN FRANCISCO
                        Case 3:24-cv-01304-MMC                      Document 46                Filed 05/20/24               Page 4 of 16



                    1                                                   TABLE OF CONTENTS
                    2   I.     INTRODUCTION ............................................................................................................... 1
                    3   II.    RELEVANT BACKGROUND ........................................................................................... 2
                               A.          The Plans ................................................................................................................ 2
                    4
                               B.          Plaintiffs, Their Administrative Claims and Appeals, and the Complaint ............. 3
                    5   II.    LEGAL STANDARD .......................................................................................................... 6
                    6   III.   ARGUMENT ....................................................................................................................... 6
                               A.          Count V Should Be Dismissed Because The Only Relief It Seeks Is
                    7
                                           Unavailable, As Supreme Court And Ninth Circuit Precedent Confirms. ............. 6
                    8          B.          Count V Fails Because It Is Unavoidably Foreclosed By Counts I-IV. ................. 9
                    9   IV.    CONCLUSION .................................................................................................................. 10

                  10
                  11
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                  13
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MORGAN, LEWIS &
 BOCKIUS LLP                                                                              -i-                    MOTION TO DISMISS COUNT V OF COMPLAINT
 ATTORNEYS AT LAW
                                                                                                                                CASE NO. 3:24-cv-01304-MMC
  SAN FRANCISCO
                        Case 3:24-cv-01304-MMC                        Document 46               Filed 05/20/24             Page 5 of 16



                    1                                                   TABLE OF AUTHORITIES
                    2                                                                                                                                   Page(s)
                    3   Cases
                    4   Abatie v. Alta Health & Life Ins. Co.,
                    5      458 F.3d 955 (9th Cir. 2006)..................................................................................................... 3

                    6   Acosta v. Brain,
                           910 F.3d 502 (9th Cir. 2018)..................................................................................................... 8
                    7
                        Ashcroft v. Iqbal,
                    8      556 U.S. 662 (2009) .................................................................................................................. 6
                    9   Berman v. Microchip Tech. Inc.,
                  10       2018 WL 732667 (N.D. Cal. Feb. 6, 2018), rev’d .................................................................... 7

                  11    Chambers v. Travelers Cos., Inc.,
                           668 F.3d 559 (8th Cir. 2012)............................................................................................... 2, 10
                  12
                        CIGNA Corp. v. Amara,
                  13       563 U.S. 421 (2011) .................................................................................................................. 7
                  14    Depot, Inc. v. Caring for Montanans, Inc.,
                  15       915 F.3d 643 (9th Cir. 2019)..................................................................................................... 6

                  16    Dzinglski v. Weirton Steel Corp.,
                           875 F.2d 1075 (4th Cir. 1989)................................................................................................... 8
                  17
                        Firestone Tire & Rubber Co. v. Bruch,
                  18       489 U.S. 101 (1989) .................................................................................................................. 3
                  19    Foster v. Adams & Assocs., Inc.,
                           2020 WL 3639648 (N.D. Cal. July 6, 2020) ......................................................................... 7, 8
                  20
                  21    Gabriel v. Alaska Elec. Pension Fund,
                           773 F.3d 945 (9th Cir. 2014)................................................................................................. 7, 8
                  22
                        Jiaxing Super Lighting Elec. Appliance Co. v. Bruggeman,
                  23        2022 WL 17404300 (N.D. Cal. Dec. 2, 2022) .......................................................................... 4
                  24    Lillywhite v. AECOM,
                            2020 WL 13628211 (W.D. Wash. Dec. 23, 2020) .................................................................. 10
                  25
                        Pendelton v. QuickTrip Corp.,
                  26
                           567 F.3d 988 (8th Cir. 2009)..................................................................................................... 9
                  27
                        Spinelli v. Gaughan,
                  28       12 F.3d 853 (9th Cir. 1993)....................................................................................................... 6
MORGAN, LEWIS &
 BOCKIUS LLP                                                                              - ii -                 MOTION TO DISMISS COUNT V OF COMPLAINT
 ATTORNEYS AT LAW
                                                                                                                                CASE NO. 3:24-cv-01304-MMC
  SAN FRANCISCO
                        Case 3:24-cv-01304-MMC                        Document 46               Filed 05/20/24              Page 6 of 16



                    1   Teurner v. Gen. Motors Corp.,
                           34 F.3d 542 (7th Cir. 1994)..................................................................................................... 10
                    2
                        Teutscher v. Woodson,
                    3      835 F.3d 936 (9th Cir. 2016)..................................................................................................... 8
                    4
                        Statutes
                    5
                        29 U.S.C. § 1001(21)(A) ................................................................................................................. 7
                    6
                        ERISA section 502(a)(1)(B), 29 U.S.C. § 1132(a)(1)(B) ...................................................... passim
                    7
                        ERISA section 502(a)(3), 29 U.S.C. § 1132(a)(3) .............................................................. 2, 6, 7, 8
                    8
                        ERISA section 502(c) ..................................................................................................................... 5
                    9
                        ERISA section 510, 29 U.S.C. § 1140 ................................................................................... passim
                  10
                  11    Other Authorities

                  12    Fed. R. Civ. P. 12(b)(6) ..................................................................................................... 2, 6, 7, 10

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MORGAN, LEWIS &
 BOCKIUS LLP                                                                                                     MOTION TO DISMISS COUNT V OF COMPLAINT
 ATTORNEYS AT LAW                                                                         - iii -                               CASE NO. 3:24-cv-01304-MMC
  SAN FRANCISCO
                        Case 3:24-cv-01304-MMC           Document 46        Filed 05/20/24       Page 7 of 16



                    1                       MEMORANDUM OF POINTS AND AUTHORITIES

                    2   I.     INTRODUCTION

                    3          Despite the Complaint’s rhetoric and tabloid-like telling of the supposed underlying events

                    4   (with tabloid-like inaccuracy), this is just another ERISA case. As is common in such cases, the

                    5   Plaintiffs disagree with a plan administrator’s decision to deny their claims for benefits under plans

                    6   that conferred full discretion on the plan administrator to interpret the plans and decide claims for

                    7   plan benefits. Specifically, Plaintiffs disagree with two detailed and exhaustive decisions by plan

                    8   administrators that they were terminated “for Cause,” and thus ineligible for severance benefits,

                    9   based on various misconduct. To use just one example, the plan administrators determined that
                  10    Plaintiffs engaged in efforts to saddle Twitter, and by extension the many investors who acquired

                  11    it, with exorbitant legal expenses by forcing approximately $100 million in gratuitous payments to

                  12    certain law firms in the final hours before the Twitter acquisition closed on October 27, 2022. Just

                  13    as in other benefit-denial cases, the central question here is whether the administrators’ decisions

                  14    were reasonable—as opposed to an abuse of discretion—based on the record before them. Indeed,

                  15    that is exactly what Counts I-IV of the Complaint concern, and those are the claims that should be

                  16    the focus of this litigation. To ensure that appropriate focus, this Motion asks the Court to dismiss

                  17    Count V of the Complaint, because it seeks only “equitable relief” the law does not permit and is

                  18    foreclosed by the claims in Counts I-IV, in any event.

                  19           Count V claims that Musk and X Corp. terminated Plaintiffs’ employment on October 27,
                  20    2022, for the purpose of interfering with their alleged rights to benefits under two severance plans

                  21    (“Plans”) in violation of section 510 of ERISA, 29 U.S.C. § 1140. For these claims, Plaintiffs

                  22    request two types of purported equitable relief: an “equitable surcharge” and “front pay.” But

                  23    neither is available, as a matter of law. First, an equitable surcharge is available only to remedy

                  24    breaches of fiduciary duty under ERISA, but the decision to terminate an employee is not fiduciary

                  25    conduct under ERISA and thus cannot constitute a breach of fiduciary duty. Second, Plaintiffs’

                  26    claim to “front pay” fails because Plaintiffs insist that they not only intended to resign but

                  27    supposedly did resign shortly after the Twitter acquisition closed. These allegations foreclose any

                  28    suggestion that Plaintiffs were reasonably certain to remain employed at Twitter for years into the
MORGAN, LEWIS &
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 ATTORNEYS AT LAW
                                                                                                        CASE NO. 3:24-cv-01304-MMC
  SAN FRANCISCO
                        Case 3:24-cv-01304-MMC           Document 46        Filed 05/20/24      Page 8 of 16



                    1   future and beyond any trial in this case, but for their allegedly unlawful termination—so “front pay”

                    2   is a nonstarter. Accordingly, because Count V does not seek any “appropriate equitable relief”

                    3   under ERISA, it must be dismissed. 29 U.S.C. § 1132(a)(3).

                    4          Count V also fails because it is foreclosed by Plaintiffs’ claims for severance benefits in

                    5   Counts I-IV. In those Counts, Plaintiffs bring claims under section 502(a)(1)(B) of ERISA, 29

                    6   U.S.C. § 1132(a)(1)(B), and seek an award of severance benefits “in accordance with the terms of

                    7   the Plans,” based on allegations that the Plans’ administrators wrongly determined that Plaintiffs

                    8   were terminated “for Cause” and, thus, had no right to severance benefits under the Plans. Even

                    9   assuming Plaintiffs could prevail on this theory, it would necessarily result in the release of their
                  10    section 510 claims in Count V—because the “terms of the Plans” expressly condition any payment

                  11    of benefits on the participant executing a full “release of claims.” By the same token, if the Court

                  12    ultimately agrees that the Plans’ administrators properly concluded that Plaintiffs were terminated

                  13    “for Cause” and thus had no right to severance benefits under the Plans, this too will foreclose their

                  14    section 510 claims in Count V. “In either event, no § 510 ‘interference’ claim will lie.” Chambers

                  15    v. Travelers Cos., Inc., 668 F.3d 559, 567 (8th Cir. 2012).

                  16           For these reasons and as discussed further below, the Court should dismiss Count V of the

                  17    Complaint for failure to state a claim under Rule 12(b)(6).

                  18    II.    RELEVANT BACKGROUND

                  19           A.      The Plans
                  20           Two plans are at issue: (1) the Twitter, Inc. Change of Control and Involuntary Termination

                  21    Protection Policy, attached as Exhibit A to the Complaint (the “2014 Plan”); and (2) the Twitter,

                  22    Inc. Change of Control Severance and Involuntary Termination Policy, attached as Exhibit B to the

                  23    Complaint (the “2017 Plan”). Both Plans provided potential “Severance Benefits” to a “select

                  24    group of key Twitter” employees, in the “event their employment is negatively affected by a change

                  25    of control at Twitter.” 2014 Plan at 1; 2017 Plan at 1. More specifically, the Plans provided the

                  26    defined Severance Benefits to participants in the event their employment was “Involuntarily

                  27    Terminated” during a “Change of Control Period,” as defined in the Plans. 2014 Plan at 1; 2017

                  28    Plan at 1. The payment of Severance Benefits under the Plans is always contingent on the
MORGAN, LEWIS &
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 ATTORNEYS AT LAW                                                       -2-                            CASE NO. 3:24-cv-01304-MMC
  SAN FRANCISCO
                        Case 3:24-cv-01304-MMC            Document 46        Filed 05/20/24      Page 9 of 16



                    1   participant first signing a standard “separation agreement and release of claims.” 2014 Plan at 1-2

                    2   (detailing the Release Requirement); 2017 Plan at 1-2 (same).

                    3          Under the Plans, participants are not eligible for Severance Benefits if their employment is

                    4   terminated “for Cause.” 2014 Plan at 2; 2017 Plan at 2. As relevant here, Cause includes “gross

                    5   negligence or willful misconduct in the performance of [the employee’s] duties[.]” 2014 Plan at 2;

                    6   2017 Plan at 2. Meanwhile, participants who resign during a Change of Control Period are still

                    7   eligible for benefits, so long as they provide at least 30-days’ written notice that they are resigning

                    8   “for Good Reason,” within the meaning of the Plans, and thereafter sign a “separation agreement

                    9   and release of claims.” 2014 Plan at 1-2, 3; 2017 Plan at 1-2, 3.
                  10           The Plans expressly provide that any designated “Administrator will have full discretion to

                  11    administer and interpret the Plan[s],” and that “[a]ny decision made or action taken by the

                  12    Administrator with respect to the [Plans], and any interpretation by the Administrator of any term

                  13    or condition of the [Plans], or any related document, will be conclusive and binding on all persons

                  14    and be given the maximum possible deference allowed by law.” 2014 Plan at 6; 2017 Plan at 6.

                  15    Thus, any decision by the Administrator is subject to abuse of discretion review in this Court. See,

                  16    e.g., Firestone Tire & Rubber Co. v. Bruch, 489 U.S. 101, 115 (1989); Abatie v. Alta Health & Life

                  17    Ins. Co., 458 F.3d 955, 967 (9th Cir. 2006) (“We read Firestone to require abuse of discretion

                  18    review whenever an ERISA plan grants discretion to the plan administrator[.]”)

                  19           B.      Plaintiffs, Their Administrative Claims and Appeals, and the Complaint
                  20           Plaintiffs are four former executives at Twitter, including the former CEO (Parag Agrawal),

                  21    former CFO (Ned Segal), former Chief Legal Officer (Vijaya Gadde), and former Senior Vice

                  22    President & General Counsel (Sean Edgett). Plaintiffs were terminated for Cause on October 27,

                  23    2022, after the Twitter acquisition closed. Compl. ¶¶ 62-63, 121-22. However, Plaintiffs allege

                  24    that they voluntarily resigned for Good Reason on or around the same date. Id. ¶ 65.

                  25           On November 29, 2022, Plaintiffs submitted, through counsel (Sidley Austin), formal

                  26    claims for benefits under the Plans. Compl. ¶ 66. In these submissions, Plaintiffs “represented that

                  27    their Claims [also] served as resignation letters.” Id. ¶ 69. The Plan’s designated Claims

                  28    Administrator, Lindsay Chapman (“Claims Administrator”), denied the claims in four, separate 55-
MORGAN, LEWIS &
 BOCKIUS LLP                                                                             MOTION TO DISMISS COUNT V OF COMPLAINT
 ATTORNEYS AT LAW                                                        -3-                            CASE NO. 3:24-cv-01304-MMC
  SAN FRANCISCO
                        Case 3:24-cv-01304-MMC          Document 46        Filed 05/20/24        Page 10 of 16



                    1   page letters dated May 26, 2023. See Compl. ¶ 72. On September 15, 2023, Plaintiffs submitted a

                    2   consolidated appeal, arguing that the Claims Administrator erred in concluding that they were

                    3   terminated for Cause, and that they had in fact voluntarily resigned their employment for Good

                    4   Reason.   See Compl. ¶¶ 74, 76-77.         The appeal was reviewed by the Twitter Severance

                    5   Administration Committee (“Committee”).

                    6          On January 12, 2024, the Committee issued a detailed, fifty-page opinion addressing

                    7   Plaintiffs’ arguments and the evidence they offered in support. Compl. ¶ 94; Declaration of Eric

                    8   Meckley (“Meckley Decl.”), Ex. A, Appeal Denial Letter.1 In that opinion, the Committee denied

                    9   Plaintiffs’ appeal and agreed with the Claims Administrator that Plaintiffs were terminated for
                  10    Cause within the meaning of the Plans. Among other findings, the Committee concluded that

                  11    Plaintiffs had engaged in “gross negligence” or “willful misconduct” within the meaning of the

                  12    Plans by, among other things:

                  13           ● Causing “the Company to pay tens of millions of dollars in legal fees that were billed

                  14               in clear violation of the Company’s 2022 Outside Counsel Billing Guidelines . . . and

                  15               relevant engagement letters.” Id. at 2; see also id. at 33.

                  16           ● Causing “the Company to pay approximately $80 million . . . in gratuitous and excessive

                  17               success fees [to firms] that were not required under the terms of the relevant engagement

                  18               letters” and “in violation of applicable laws and/or rules of ethics.” Plaintiffs also

                  19               “accelerated the payment of these fees” in the hours before the Twitter acquisition
                  20               closed “over Mr. Musk’s objections, which prevented [X Corp.] . . . from auditing these

                  21               fees to ensure the Company had paid only those amounts it was legally obligated to

                  22               pay,” and in doing so “failed to engage in any meaningful review of [the] fees prior to

                  23
                        1
                  24      Because the Complaint relies on and makes extensive reference to the January 12, 2024 Appeal
                        Denial Letter (Compl. ¶¶ 94-100, 149), the Court may properly consider it in connection with this
                  25    Motion. See Jiaxing Super Lighting Elec. Appliance Co. v. Bruggeman, 2022 WL 17404300, at *2
                        (N.D. Cal. Dec. 2, 2022) (Chesney, J.) (on Rule 12(b)(6) motion, court may consider “[d]ocuments
                  26    whose contents are alleged in the complaint, and whose authenticity no party questions, but which
                  27    are not physically attached to the pleading”) (citing United States v. Ritchie, 342 F.3d 903, 907–08
                        (9th Cir. 2003) (“A court may . . . consider certain materials,” including “documents incorporated
                  28    by reference in the complaint . . . without converting the motion to dismiss into a motion for
MORGAN, LEWIS &
                        summary judgment”)).
 BOCKIUS LLP                                                                            MOTION TO DISMISS COUNT V OF COMPLAINT
 ATTORNEYS AT LAW                                                       -4-                            CASE NO. 3:24-cv-01304-MMC
  SAN FRANCISCO
                        Case 3:24-cv-01304-MMC            Document 46         Filed 05/20/24     Page 11 of 16



                    1               payment and disabled the protective measures that the Company had put in place to
                    2               prevent the payment of improper fees.” Id. at 2; see also id. at 31, 33, 36, 37.

                    3           ● Causing the Company to violate the Merger Agreement in the months before the

                    4               acquisition closed by approving “a dramatic increase in retention bonuses payable to

                    5               members of their respective teams,” after Musk exercised his right not to consent to

                    6               such increases. Id. at 2-3; see also id. at 40-41.

                    7           ● Causing “new participants to be added to the Plan[s], generally increasing the severance

                    8               benefits available to these individuals by more than $50 million dollars,” including one

                    9               employee who Twitter had already decided to terminate and another who was allowed

                  10                to add herself to one of the Plans—a naked conflict of interest that increased her

                  11                potential compensation by approximately $15 million. Id. at 3; see also id. at 41-43.

                  12            On March 4, 2024, Plaintiffs filed their Complaint for Severance Benefits, Equitable Relief,

                  13    and Statutory Penalties (ERISA) (“Complaint”) in this Court. Compl. at p. 1. As the Complaint’s

                  14    title indicates, Plaintiffs’ claims fall into three buckets:

                  15            ● Claims for Severance Benefits. First, in Counts I-IV, Plaintiffs assert four separate

                  16                claims for Severance Benefits (one Count per Plaintiff) under section 502(a)(1)(B) of

                  17                ERISA. Compl. ¶¶ 157-172. Through these claims, Plaintiffs seek an order declaring

                  18                that the denial of Plaintiffs’ claims for benefits under the Plans was contrary to the terms

                  19                of the Plans, and further ordering that Plaintiffs be paid Severance Benefits, in

                  20                accordance with the terms of the Plans. Id., Prayer for Relief ¶¶ A-B.

                  21            ● Claims for Equitable Relief. Second, in Count V, Plaintiffs bring claims under section

                  22                510 of ERISA, to recover from Musk and X Corp. “appropriate equitable relief” based

                  23                on Musk’s alleged decision to terminate their employment. Compl. ¶¶ 175-176.

                  24            ● Claims for Statutory Penalties. Third, in Count VI, Plaintiffs seek to recover statutory

                  25                penalties from Musk and the Claims Administrator under section 502(c) of ERISA,

                  26                based on their alleged failure timely to provide Plaintiffs with certain documents in

                  27                connection with Plaintiffs’ claims for benefits and related appeals. Compl. ¶¶ 177-183.

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MORGAN, LEWIS &
 BOCKIUS LLP                                                                              MOTION TO DISMISS COUNT V OF COMPLAINT
 ATTORNEYS AT LAW                                                          -5-                           CASE NO. 3:24-cv-01304-MMC
  SAN FRANCISCO
                        Case 3:24-cv-01304-MMC             Document 46          Filed 05/20/24          Page 12 of 16



                    1           This Motion concerns Plaintiffs’ claims in the second bucket: Count V. These claims do

                    2   not concern the Claims Administrator or the Committee. Rather, they allege that Musk and X Corp.

                    3   terminated Plaintiffs’ employment not “for Cause,” within the meaning of the Plans, but rather “for

                    4   the specific purpose of interfering with their attainment of Severance Benefits under the Plan[s]”

                    5   in violation of section 510 of ERISA. Compl. ¶¶ 101, 175. Based on these claims, Plaintiffs request

                    6   two forms of purported “equitable relief,” including an unspecified “equitable surcharge” and

                    7   “front pay.” Id., Prayer for Relief ¶ C.

                    8   II.     LEGAL STANDARD

                    9           To survive a Rule 12(b)(6) motion to dismiss, a complaint “must contain sufficient factual
                  10    matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal,

                  11    556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). Under

                  12    this standard, claims seeking “equitable relief” that is not properly awarded under section 502(a)(3)

                  13    of ERISA, 29 U.S.C. § 1132(a)(3), must be dismissed. See, e.g., Depot, Inc. v. Caring for

                  14    Montanans, Inc., 915 F.3d 643, 665 (9th Cir. 2019) (affirming dismissal because “plaintiffs [were]

                  15    not seeking ‘appropriate equitable relief’ under 29 U.S.C. § 1132(a)(3)”).

                  16    III.    ARGUMENT

                  17            A.      Count V Should Be Dismissed Because The Only Relief It Seeks Is
                                        Unavailable, As Supreme Court And Ninth Circuit Precedent Confirms.
                  18
                                Section 510 of ERISA makes it unlawful to terminate the employment of a plan participant
                  19
                        for “the purpose of interfering with the attainment of any right to which such participant may
                  20
                        become entitled under the plan[.]” 29 U.S.C. § 1140. A terminated participant can seek “redress”
                  21
                        for an alleged violation of section 510 through the enforcement provision prescribed in section
                  22
                        502(a)(3) of ERISA, which provides “appropriate equitable relief” to “redress such violations[.]”
                  23
                        29 U.S.C. § 1132(a)(3); Spinelli v. Gaughan, 12 F.3d 853, 856 (9th Cir. 1993) (“[S]ection 510
                  24
                        incorporates the remedies of section 502, which in turn authorizes an aggrieved participant . . . to
                  25
                        bring a civil action . . . to obtain . . . appropriate equitable relief[.]”).
                  26
                  27
                  28
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 BOCKIUS LLP                                                                                  MOTION TO DISMISS COUNT V OF COMPLAINT
 ATTORNEYS AT LAW                                                           -6-                              CASE NO. 3:24-cv-01304-MMC
  SAN FRANCISCO
                        Case 3:24-cv-01304-MMC           Document 46         Filed 05/20/24      Page 13 of 16



                    1          Here, Plaintiffs seek two forms of purported equitable relief: “surcharge” and “front pay.”

                    2   Compl. ¶¶ 173-176, Prayer for Relief ¶ C.2 But as their own allegations demonstrate, neither is

                    3   available to them, as a matter of law. Thus, Plaintiffs’ section 510 claims in Count V necessarily

                    4   fail to state a claim upon which relief may be granted. See Fed. R. Civ. P. 12(b)(6).

                    5          To start, although the Ninth Circuit has recognized that “surcharge” is a form of equitable

                    6   relief that may properly be awarded in certain ERISA cases, this is not one of them. Under binding

                    7   precedent, an “equitable surcharge” is properly awarded only to remedy a breach of fiduciary duty.

                    8   CIGNA Corp. v. Amara, 563 U.S. 421, 442 (2011) (explaining that a “surcharge” is monetary relief

                    9   that might be “equitable” within the meaning of ERISA, but only when awarded to remedy “a
                  10    breach of trust committed by a fiduciary encompassing any violation of a duty imposed upon that

                  11    fiduciary.”); Gabriel v. Alaska Elec. Pension Fund, 773 F.3d 945, 957 (9th Cir. 2014) (same).

                  12    Accordingly, claims seeking to impose an equitable surcharge for ERISA violations that do not

                  13    constitute a breach of fiduciary duty are properly dismissed because they do not seek “appropriate

                  14    equitable relief” under section 502(a)(3). See, e.g., id.; Foster v. Adams & Assocs., Inc., 2020 WL

                  15    3639648, at *8 (N.D. Cal. July 6, 2020) (dismissing claims seeking an equitable “surcharge” award

                  16    under section 502(a)(3) against non-fiduciary defendants, because surcharge is “appropriate

                  17    equitable relief” only for a breach of fiduciary duty).

                  18           That is the correct result here. The Complaint never alleges that Musk or X Corp. acted in

                  19    a fiduciary capacity when terminating Plaintiffs’ employment. For good reason. Under ERISA,
                  20    one is a fiduciary only “to the extent” he is engaged in fiduciary conduct—that is, exercising

                  21    discretionary “control” or “authority” over plan “assets” or “administration.”             29 U.S.C. §

                  22    1001(21)(A) (emphasis added). Under this “functional” definition, courts recognize that even

                  23
                        2
                          While Plaintiffs seek a declaration that they are entitled to benefits under the Plans, this is not a
                  24    request for equitable relief under section 502(a)(3) of ERISA, and Plaintiffs do not appear to allege
                  25    otherwise. Compare Compl., Prayer for Relief ¶ A (requesting the above “[d]eclaration”) with id.
                        ¶ C (requesting “equitable relief” in the form of “front pay and/or equitable surcharge”). Rather,
                  26    the requested declaration “is nothing more than a request for the Court to ‘clarify [Plaintiffs’] rights
                        to . . . benefits under the terms of plan’—relief for which ERISA provides under section
                  27    502(a)(1)(B),” Berman v. Microchip Tech. Inc., 2018 WL 732667, at *11 (N.D. Cal. Feb. 6, 2018),
                        rev’d on unrelated grounds, 838 F. App’x 292 (9th Cir. 2021), and which Plaintiffs seek through
                  28    Counts I-IV of the Complaint (¶¶ 157-172).
MORGAN, LEWIS &
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 ATTORNEYS AT LAW                                                        -7-                             CASE NO. 3:24-cv-01304-MMC
  SAN FRANCISCO
                        Case 3:24-cv-01304-MMC           Document 46        Filed 05/20/24      Page 14 of 16



                    1   where (unlike here) the defendant is a fiduciary for some purposes, he wears a “fiduciary hat” only

                    2   when making discretionary decisions concerning ERISA plan management, and otherwise wears a

                    3   non-fiduciary “corporate hat” when making personnel and other business decisions—even when

                    4   those decisions adversely impact plan participants or plan benefits. Acosta v. Brain, 910 F.3d 502,

                    5   518-20 (9th Cir. 2018). Thus, when an officer or employer (like Musk or X Corp.) makes an

                    6   employment decision (like hiring or firing employees) they are not engaged in fiduciary conduct as

                    7   defined in ERISA. See id. at 514, 518-20 (placing employee on “administrative leave,” allegedly

                    8   in violation of section 510, was an employment decision not fiduciary conduct); Dzinglski v.

                    9   Weirton Steel Corp., 875 F.2d 1075, 1080 (4th Cir. 1989) (“[Defendant] was acting in its capacity
                  10    as [the plaintiff’s] employer, not as a fiduciary, when it decided to discharge him,” and thereby

                  11    precluded recovery or early-retirement benefits under the plan’s terms). That is why Plaintiffs have

                  12    not alleged—and cannot allege—that the decision to terminate them constituted a breach of

                  13    fiduciary duty. Accordingly, their request for an equitable surcharge is not appropriate equitable

                  14    relief under ERISA. See Gabriel, 773 F.3d at 957 (equitable surcharges is available only for

                  15    breaches of fiduciary duty); Foster, 2020 WL 3639648, at *9 (dismissing claims for equitable

                  16    surcharge because defendants were not fiduciaries).

                  17           Plaintiffs cannot recover front pay, either. Even assuming that front pay may constitute

                  18    “appropriate equitable relief” under section 502(a)(3) in some cases, Plaintiffs’ own allegations

                  19    confirm this is not one of them. Front pay is a forward-looking remedy, measured by the amount
                  20    the plaintiff was “reasonably certain” to earn through continued employment with the employer

                  21    beyond the trial date, “but for his wrongful discharge” (minus earnings he could have obtained

                  22    through alternative employment). Teutscher v. Woodson, 835 F.3d 936, 948 (9th Cir. 2016). But

                  23    here, Plaintiffs are adamant that they had no expectation of remaining employed at Twitter—let

                  24    alone for years into the future and beyond any trial in this case. Instead, Plaintiffs insist that they

                  25    intended to resign once the Twitter acquisition closed on October 27, 2022, and that they

                  26    supposedly did resign on or around that date. Compl. ¶¶ 64, 69. Plaintiffs even represented in their

                  27    November 29, 2022 submissions to the Claims Administrator that the claims “served as resignation

                  28
MORGAN, LEWIS &
 BOCKIUS LLP                                                                             MOTION TO DISMISS COUNT V OF COMPLAINT
 ATTORNEYS AT LAW                                                        -8-                            CASE NO. 3:24-cv-01304-MMC
  SAN FRANCISCO
                        Case 3:24-cv-01304-MMC           Document 46        Filed 05/20/24       Page 15 of 16



                    1   letters.” Id. ¶ 69. Thus, Plaintiffs’ own allegations refute any suggestion that they could be entitled

                    2   to front pay as appropriate equitable relief for their section 510 claims in this case.

                    3          B.      Count V Fails Because It Is Unavoidably Foreclosed By Counts I-IV.

                    4          Not only do Plaintiffs’ section 510 claims in Count V fail because they do not seek any

                    5   legally-permissible relief, but they also fail because they are unavoidably foreclosed by Plaintiffs’

                    6   claims for Severance Benefits in Counts I-IV.

                    7          The central question in this case is whether the Claims Administrator and Committee

                    8   properly denied Plaintiffs’ claims for benefits based on their determinations that Plaintiffs were

                    9   terminated “for Cause” within the meaning of the Plans, such that Plaintiffs had no right to
                  10    Severance Benefits under the Plans. That is the focus of Counts I-IV of the Complaint, which are

                  11    properly asserted under section 502(a)(1)(B) of ERISA. In those Counts, Plaintiffs disagree with

                  12    the Claims Administrator and Committee by alleging that they were not terminated “for Cause” as

                  13    defined in the Plans, and thus argue that they are entitled to Severance Benefits under the Plans.

                  14    Based on these claims, Plaintiffs seek an order requiring that they be paid Severance Benefits “in

                  15    accordance with the terms of the Plans.” Compl., Prayer ¶¶ A-B. If Plaintiffs prevail, then they

                  16    may recover Severance Benefits, but only after executing a “separation agreement and release of

                  17    claims,” in “accordance with the terms of the Plans.” See supra at 6-7. In other words, if Plaintiffs

                  18    prevail on their claims for Severance Benefits in Counts I-IV, then their section 510 claims in Count

                  19    V will necessarily be extinguished by the required release of claims.
                  20           Alternatively, if the Court agrees with the Claims Administrator and Committee that

                  21    Plaintiffs were terminated “for Cause” within the meaning of the Plans—and thus had no right to

                  22    Severance Benefits under the Plans—then Plaintiffs’ section 510 claim will fail, too. That is

                  23    because when a plan bars employees terminated for cause from receiving severance benefits, and

                  24    the administrator properly determines the employee’s termination was for cause, then the employee

                  25    had no “right” under the plan with which to “interfer[e].” 29 U.S.C. § 1140; see, e.g., Pendelton v.

                  26    QuickTrip Corp., 567 F.3d 988, 993 (8th Cir. 2009) (affirming dismissal of section 510 claim

                  27    because “severance plan clearly states that employees terminated for cause will not receive

                  28    severance,” and plaintiff “was terminated for cause, and he was therefore fully excluded from
MORGAN, LEWIS &
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 ATTORNEYS AT LAW                                                        -9-                             CASE NO. 3:24-cv-01304-MMC
  SAN FRANCISCO
                        Case 3:24-cv-01304-MMC          Document 46        Filed 05/20/24      Page 16 of 16



                    1   severance benefits”); Lillywhite v. AECOM, 2020 WL 13628211, at *1 (W.D. Wash. Dec. 23,

                    2   2020) (“Plaintiff’s failure to refute Defendants’ allegation that he was terminated for cause

                    3   forecloses a claim based on an alleged violation of § 510.”).

                    4          In sum, whether or not Plaintiffs prevail on Counts I-IV, their claim in Count V is subject

                    5   to dismissal either way. Courts have rejected section 510 claims for these reasons. See Chambers,

                    6   668 F.3d at 567 (“[I]f [plaintiff] was terminated for cause, she had no further rights under the

                    7   plan. If she was not validly terminated for cause, she had a claim for severance benefits under the

                    8   plan. In either event, no § 510 ‘interference’ claim will lie.”); cf. Teurner v. Gen. Motors Corp.,

                    9   34 F.3d 542, 545 (7th Cir. 1994) (holding that defendant’s alleged intentional mischaracterization
                  10    of the cause of plaintiff’s termination could not support a section 510 claim because the challenged

                  11    characterization did not “itself” change plaintiff’s employment status—i.e., terminated—and any

                  12    claim that the termination was misclassified was properly asserted as a claim for benefits under the

                  13    plan pursuant to section 502(a)(1)(B) of ERISA).

                  14           This makes sense. Allowing Plaintiffs to assert a section 510 claim here would create the

                  15    absurd result that every decision to designate a termination “for cause” under a severance plan is

                  16    challenged not just as a claim for plan benefits under section 502(a)(1)(B) of ERISA, but also as a

                  17    section 510 violation. The Court should dismiss Count V on this additional basis.

                  18    IV.    CONCLUSION

                  19           For these reasons, the Court should dismiss Count V of the Complaint under Rule 12(b)(6).
                  20     Dated: May 20, 2024                                MORGAN, LEWIS & BOCKIUS LLP

                  21                                                        By    /s/ Eric Meckley
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MORGAN, LEWIS &
 BOCKIUS LLP                                                                            MOTION TO DISMISS COUNT V OF COMPLAINT
 ATTORNEYS AT LAW                                                      - 10 -                          CASE NO. 3:24-cv-01304-MMC
  SAN FRANCISCO
